1                                                                HON. RICHARD A. JONES
2

3

4

5

6

7

8                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF WASHINGTON
9                                            AT SEATTLE
10
     E.S., by and through her parents, R.S. and J.S.,
11   and JODI STERNOFF, both on their own               NO. 2:17-cv-1609-RAJ
     behalf, and on behalf of all similarly situated
12
     individuals,
13                                                      PLAINTIFFS’ OPPOSITION TO
                               Plaintiffs,              DEFENDANTS’ MOTION TO
14                                                      DISMISS PLAINTIFFS’ SECOND
             v.                                         AMENDED COMPLAINT
15
     REGENCE BLUESHIELD; and CAMBIA
16
     HEALTH SOLUTIONS, INC., f/k/a THE                  Noted for Consideration:
17   REGENCE GROUP,                                      June 17, 2022
18                             Defendants.

19

20

21

22

23

24

25

26


     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                            SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                       SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT                                             3101 WESTERN AVENUE, SUITE 350
                                                                     SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                 TEL. (206) 223-0303 FAX (206) 223-0246
1                                                            Table of Contents

2
     I.     INTRODUCTION ............................................................................................................. 1
     II.    FACTS ................................................................................................................................ 4
3
            A.      Procedural History. ................................................................................................. 4
4
            B.      The SAC More Than Adequately Pleads Facts Sufficient to
5                   Support Claims. ....................................................................................................... 4
6           C.      Regence’s Exclusion of Hearing Aids. .................................................................. 5

7
     III.   ARGUMENT ..................................................................................................................... 6
            A.      Plaintiffs Adequately Alleged Disability Discrimination
8
                    Under Section 1557. ................................................................................................. 6
9                   1.   The Hearing Aid Exclusion is a form of proxy
                         discrimination. ................................................................................................... 6
10                            a. Regence meets the needs of its non-disabled
                                   insureds by covering hearing screenings and
11
                                   diagnostic evaluations. ....................................................................... 7
12                            b. Disabled insureds who require hearing aids are
                                   targeted. .............................................................................................. 9
13                            c.   Regence’s exclusion of routine hearing
                                   examinations does not destroy the “fit.” .......................................... 11
14
                    2.   Plaintiffs properly assert a disparate impact
15                       discrimination claim. ....................................................................................... 14
                    3.   Deliberate indifference discrimination based upon
16                       Regence’s arbitrary exclusion of hearing aids................................................ 18
17          B.      Regence’s Violation of RCW 48.43.0128 is a Violation of
                    the Washington Law Against Discrimination. .................................................. 21
18
            C.      Plaintiffs Adequately Pled a Violation of the CPA and for
19                  Declaratory and Injunctive Relief........................................................................ 24
20   IV. CONCLUSION ............................................................................................................... 24

21

22

23

24

25

26


     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                                                   SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                                              SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – i                                                                                 3101 WESTERN AVENUE, SUITE 350
                                                                                                             SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                                                         TEL. (206) 223-0303 FAX (206) 223-0246
1                                                      Table of Authorities

2                                                                CASES
3    A.Z. v. Regence BlueShield,
        333 F. Supp. 3d 1069 (W.D. Wash. 2018) ........................................................................ 14
4
     Alexander v. Choate,
5       469 U.S. 287, 105 S. Ct. 712, 83 L. Ed. 2d 661 (1985) ............................................ 3, 14, 20

6    Bell Atl. Corp. v. Twombly,
         550 U.S. 544, 127 S. Ct. 1955 (2007) .................................................................................. 14
7
     Bennett v. Hardy,
8       113 Wn.2d 912, 783 P.2d 1258 (1990) ......................................................................... 22, 23

9    Bragdon v. Abbott,
        524 U.S. 624, 118 S. Ct. 2196 (1998) .................................................................................. 18
10
     C.P. v Blue Cross Blue Shield of Ill.,
11      536 F. Supp. 3d 791 (W.D. Wash. 2021) ............................................................................ 1

12
     Cameron v. Physicians Ins.,
        2004 U.S. Dist. LEXIS 15268 (D. Or. July 26, 2004) ........................................................ 22
13
     Carr v. United Healthcare Servs.,
14      2016 U.S. Dist. LEXIS 182561 (W.D. Wash. May 31, 2016) ..................................... 11, 12

15
     Crowder v. Kitagawa,
        81 F.3d 1480 (9th Cir. 1996)............................................................................................... 20
16
     D.T. v. NECA/IBEW Family Med. Care Plan,
17      2017 U.S. Dist. LEXIS 195186 (W.D. Wash., Nov. 28, 2017) ......................................... 12

18
     Davis v. Guam,
        932 F.3d 822 (9th Cir. 2019)............................................................................................... 12
19
     Doe v. CVS Pharm., Inc.,
20      982 F.3d 1204 (9th Cir. 2020).................................................................................... passim

21
     Duvall v. Cty. of Kitsap,
       260 F.3d 1124 (9th Cir. 2001)............................................................................................. 21
22
     Fain v. Crouch,
23      545 F. Supp. 3d 338 (S.D. W. Va. 2021) ........................................................................... 17
     Floeting v. Grp. Health Coop.,
24
         192 Wn.2d 848, 434 P.3d 39 (2019) ................................................................................... 22
25
     Fuog v. CVS Pharm.,
26      2022 U.S. Dist. LEXIS 84045 (D. R.I., May 10, 2022) ...................................... 1, 11, 16, 17

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                                          SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                                     SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – ii                                                                       3101 WESTERN AVENUE, SUITE 350
                                                                                                    SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                                                TEL. (206) 223-0303 FAX (206) 223-0246
1    Galbraith v. TAPCO Credit Union,
        88 Wn. App. 939, 946 P.2d 1242 (1997) ........................................................................... 22
2
     Glanz v. Vernick,
3       750 F. Supp. 39 (D. Mass. 1990) ........................................................................................ 18
4    Hishon v. King & Spalding,
        467 U.S. 69, 104 S. Ct. 2229 (1984) .................................................................................... 12
5
     Innova Hosp. San Antonio, Ltd. P’ship v. Blue Cross & Blue Shield of Ga.,
6       Inc.,
        892 F.3d 719 (5th Cir. 2018)............................................................................................... 14
7
     Keodalah v. Allstate Ins. Co.,
8
        194 Wn.2d 339, 449 P.3d 1040 (2019) ............................................................................... 22
9    Loux v. Rhay,
        375 F.2d 55 (9th Cir. 1967)................................................................................................... 9
10
     M&Z Trading Corp. v. Cargolift Ltd.,
11
       2000 U.S. App. LEXIS 11573 (9th Cir. 2000) ..................................................................... 9
12   McWright v. Alexander,
       982 F.2d 222 (7th Cir. 1992)............................................................................................... 10
13
     Molina Healthcare of Cal., Inc. v. United States,
14     133 Fed. Cl. 14 (2017) ........................................................................................................... 1
15   O.S.T. v. Regence BlueShield,
        181 Wn.2d 691, 335 P.3d 416 (2014) ................................................................................. 18
16
     Pac. Shores Props. v. City of Newport Beach, 730 F.3d 1142 (9th Cir.
17      2013) ............................................................................................................................... 10, 12
18   PAE Gov’t Servs. v. MPRI, Inc.,
       514 F.3d 856 (9th Cir. 2007)................................................................................................. 8
19
     Payan v. L.A. Cmty. Coll. Dist.,
20      11 F.4th 729 (9th Cir. 2021) ............................................................................................... 14
21   Schmitt v. Kaiser Health Plan of Washington,
        965 F.3d 945 (9th Cir. 2020)...................................................................................... passim
22
     Sumes v. Andres,
23     938 F. Supp. 9 (D.D.C. 1996) ............................................................................................. 18
24   T.S. v. Heart, 2021 U.S. Dist. LEXIS 49119, *20–27 (S.D. Ind., March
        16, 2021) ................................................................................................................................. 1
25
     Taylor v. Burlington N. R.R. Holdings, Inc.,
26      193 Wn.2d 611, 444 P.3d 606 (2019) ................................................................................. 23

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                                                    SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                                               SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – iii                                                                                3101 WESTERN AVENUE, SUITE 350
                                                                                                              SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                                                          TEL. (206) 223-0303 FAX (206) 223-0246
1    Updike v. Multnomah Cty.,
       870 F.3d 939 (9th Cir. 2017)............................................................................................... 21
2
     Woolfolk v. Duncan,
3      872 F. Supp. 1381 (E.D. Pa. 1995) ..................................................................................... 18
4
                                                                    STATUTES
5    29 U.S.C. §705(20)(B) ............................................................................................................. 4, 9
6    42 U.S.C. §12102 ....................................................................................................................... 24

7    42 U.S.C. §12102(2) .................................................................................................................... 9
     42 U.S.C. §18022(b)(1)(G) ........................................................................................................ 15
8
     42 U.S.C. §18116 ..................................................................................................................... 1, 4
9
     RCW 48.30.300(2) ....................................................................................................................... 2
10
     RCW 48.43.0128............................................................................................................... passim
11   RCW 48.43.0128(1) ................................................................................................................... 21
12   RCW 48.43.715.......................................................................................................................... 18
13   RCW 49.60.010.......................................................................................................................... 22

14
     RCW 49.60.020.......................................................................................................................... 22
     RCW 49.60.030............................................................................................................................ 2
15
     RCW 49.60.030(1) ..................................................................................................................... 23
16
     RCW 49.60.030(1)(e) ................................................................................................................ 22
17
     RCW 49.60.030(2) ............................................................................................................... 22, 23
18   RCW 49.60.040(7)(a) ................................................................................................................ 23
19   RCW 49.60.040(7)(c)(i) ............................................................................................................. 23
20   RCW 49.60.178.......................................................................................................................... 23

21
     RCW 49.60.178(1) ............................................................................................................... 21, 22

22                                                               REGULATIONS
     45 C.F.R. §146.121(b)(2)(i)(B) .................................................................................................. 15
23
     45 C.F.R. §156.115(a)(5) ........................................................................................................... 15
24
     45 C.F.R. §92.4 ............................................................................................................................ 4
25

26


     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                                                   SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                                              SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – iv                                                                                3101 WESTERN AVENUE, SUITE 350
                                                                                                             SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                                                         TEL. (206) 223-0303 FAX (206) 223-0246
1                                                           LEGISLATIVE HISTORY
2    2 SSB 5313, Sec. 1 ...................................................................................................................... 21
     SHB 1870 (2019)........................................................................................................................ 23
3

4                                                             OTHER AUTHORITIES
     81 Fed. Reg. 31405 .................................................................................................................... 19
5
     81 Fed. Reg. 31408 .................................................................................................................... 19
6
     81 Fed. Reg. 31409 .................................................................................................................... 19
7
     81 Fed. Reg. 31434 .................................................................................................................... 19
8    https://blue.regence.com/trgmedpol/intro/index.html................................................. 19
9    https://lawfilesext.leg.wa.gov/biennium/2019-
        20/Pdf/Bill%20Reports/House/1870-
10
        S%20HBR%20FBR%2019.pdf?q=20220526125620......................................................... 22
11   https://www.cms.gov/CCIIO/Resources/Regulations-and-
12
        Guidance/Downloads/Final-2018-Letter-to-Issuers-in-the-
        Federally-facilitated-marketplaces-and-February-17-
13      Addendum.pdf .................................................................................................................. 19
14   https://www.hhs.gov/civil-rights/for-individuals/section-
        1557/1557faqs/index.html ............................................................................................... 19
15
     Wallhagen, Margaret I., Ph.D., GNP-BC, AGSF, FAAN, “The Stigma
16     of Hearing Loss,” The Gerontologist, Vol. 50, No. 1, Feb. 2010,
       pp. 66-75 ................................................................................................................................ 9
17
     www.ncbi.nlm.nih.gov/pmc/articles/PMC2904535/pdf/gnp107.p
18     df ............................................................................................................................................ 9
19

20

21

22

23

24

25

26


     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                                                      SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                                                 SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – v                                                                                    3101 WESTERN AVENUE, SUITE 350
                                                                                                                SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                                                            TEL. (206) 223-0303 FAX (206) 223-0246
                                              I.   INTRODUCTION
1
             Before the Affordable Care Act, health insurers were free to discriminate against
2
     the disabled. Insurers could refuse to issue plans to individuals with disabilities and
3
     were permitted to design benefits that denied services to the disabled. The ACA changed
4
     everything. For the first time, all Americans, including those with disabilities, would
5
     have access to comprehensive coverage. It was a “tectonic shift in the nation’s [health]
6
     insurance market.” Molina Healthcare v. United States, 133 Fed. Cl. 14, 19 (2017).
7
             To ensure comprehensive coverage, the ACA eliminated pre-existing condition
8
     exclusions and medical underwriting. In addition, and at issue here, it also prohibited
9
     discriminatory benefit designs. 42 U.S.C. §18116 (“Section 1557”); Schmitt v. Kaiser Health
10
     Plan of Washington, 965 F.3d 945, 949 (9th Cir. 2020). In the years since the ACA was
11
     enacted, federal courts have grappled with the scope and meaning of Section 1557. The
12
     emerging body of case law—of which Schmitt was one of the first—has uniformly
13
     concluded that Section 1557 means exactly what it says: a health plan cannot design
14
     benefits that discriminate against the disabled. See, e.g., Schmitt, 965 F.3d at 954–58; Doe
15
     v. CVS Pharm., Inc., 982 F.3d 1204 (9th Cir. 2020); C.P. v Blue Cross Blue Shield of Ill., 536 F.
16
     Supp. 3d 791 (W.D. Wash. 2021) (sex discrimination claim based on benefit design
17
     properly pled under Section 1557); T.S. v. Heart, 2021 U.S. Dist. LEXIS 49119, *20–27 (S.D.
18
     Ind., March 16, 2021) (plaintiff properly pled claim under ACA for benefit design that
19
     excluded treatment for autism); Fuog v. CVS Pharm., 2022 U.S. Dist. LEXIS 84045, *14 (D.
20
     R.I., May 10, 2022) (plaintiff properly pled both disparate treatment proxy claim and
21
     disparate impact claims under Section 1557 arising out of benefit design).1
22

23

24
         1 In Fuog, as here, the plaintiffs required several amended complaints in order to fashion their claims
25
     narrowly to meet the rapidly evolving case law governing Section 1557. See id., 2022 U.S. Dist. LEXIS 84045,
26   at *17, n.7 (the Fuog plaintiffs amended their complaint to establish a narrower class with a “significantly
     tighter correlation with disability”).

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                           SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                      SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 1                                                        3101 WESTERN AVENUE, SUITE 350
                                                                                    SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                                TEL. (206) 223-0303 FAX (206) 223-0246
1            Washington State has imposed further protections. Since this case was originally
2    filed, the Washington Legislature has specifically deemed discrimination in benefit
3    design to be “unfair discrimination” such that it gives rise to an action under
4    Washington’s Law Against Discrimination (“WLAD”) and Consumer Protection Act
5    (“CPA”). See RCW 48.43.0128; RCW 48.30.300(2); RCW 49.60.030.
6            Against this fluid backdrop, the Plaintiffs here have amended their Complaint to
7    address the concerns identified by the Court in its January 2022 Order. Dkt. No. 41.
8            First, in the Second Amended Complaint (“SAC”), the Plaintiffs have narrowed
9    their claims (and their class) to address a very specific exclusion: the exclusion of hearing
10   aids. Compare Dkt. No. 32, ¶¶3, 14, 15, 22, 23, 96 (claims premised on the exclusions for
11   all treatment associated with hearing loss) with Dkt. No. 42, ¶¶1, 2, 8, 9, 16, 19, 20, 23, 43,
12   48, 60, 61, 64, 65, 74, 81, 89 (claims narrowed to the exclusion of hearing aids only). While
13   Plaintiffs remain concerned that the broader exclusion of other hearing-loss related
14   services is also discriminatory, they have elected to only pursue a claim that Regence’s
15   exclusion of hearing aids violates both Section 1557 and Washington State Law. This
16   narrowed claim is supported by Frank Lin, M.D., Ph.D., the author of, “Prevalence of
17   Hearing Loss by Severity in the United States,” and permits conclusions on the proxy’s
18   “fit.” Dkt. No. 42, ¶¶84–87 (Dr. Lin’s analysis); Dkt. No. 41, p. 14 (Court’s use of Dr. Lin’s
19   study). These are not just Plaintiffs’ allegations but evidence-based conclusions from one
20   of the leading experts in the field.
21           Second, the SAC alleges that Regence pays for hearing screenings as part of
22   physical examinations as well as diagnostic hearing examinations. Dkt. No. 42, ¶¶68–73.
23   This information was recently uncovered. Spoonemore Decl., ¶2. This is significant given
24   that both hearing screenings and diagnostic hearing examinations are administered to
25   the hearing-disabled and non-disabled alike. Yet, once an individual is found to have
26   significant hearing loss—the vast majority of whom are, by definition, hearing-disabled

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                  SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                             SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 2                                               3101 WESTERN AVENUE, SUITE 350
                                                                           SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                       TEL. (206) 223-0303 FAX (206) 223-0246
1    —Regence then excludes the very service required to treat their disability: hearing aids.
2    The specific exclusion of hearing aids is a clear-cut proxy for discrimination against
3    hearing disabled insureds.
4            Third, the SAC alleges, for the first time, that Regence’s exclusion of hearing aids
5    gives rise to a disparate impact claim. A disparate impact claim under Section 1557 was
6    expressly authorized in Doe v. CVS Pharmacy, Inc., 982 F.3d 1204 (9th Cir. 2020), and fits
7    this case to a “T.” No proxy analysis is required. Rather, the question is whether the
8    exclusion “would disproportionately affect people with disabilities.” Id. at 1210 (citing
9    Alexander v. Choate, 469 U.S. 287, 105 S. Ct. 712, 83 L. Ed. 2d 661 (1985)). The touchstone
10   is whether hearing disabled insureds have “meaningful access” to the benefits promised
11   by the ACA, including the rehabilitative and habilitative devices that they require. Given
12   Regence’s exclusion of hearing aids, they do not. See id. at 1211–12.
13           Fourth,     Plaintiffs   add   a   claim   for   intentional/deliberate         indifference
14   discrimination. There is no medical or scientific basis to exclude hearing aids from
15   medical coverage. The sole reason that the service is denied is to arbitrarily avoid paying
16   claims to individuals that are disabled. This is the hallmark of discrimination.
17           Fifth, the SAC alleges claims under the WLAD and CPA. These claims are
18   predicated upon RCW 48.43.0128, which makes it illegal to discriminate against disabled
19   insureds in the design of health benefits. This statute can be enforced through both the
20   WLAD and CPA and includes claims for declaratory and injunctive relief.
21           The ACA and Washington law promised insureds with disabilities—including
22   those with disabling hearing loss—that they would no longer be subject to the historic
23   discrimination that plagued health insurance policies before the ACA. Regence’s
24   exclusion of hearing aids, the treatment that the vast majority of the hearing disabled
25   need to fully engage in life’s activities, violates the very raison d’être of the ACA’s anti-
26   discrimination requirements. Regence’s motion to dismiss should be denied.

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                  SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                             SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 3                                                3101 WESTERN AVENUE, SUITE 350
                                                                            SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                        TEL. (206) 223-0303 FAX (206) 223-0246
                                              II. FACTS
1
     A.      Procedural History.
2
             In this action, two Regence insureds with hearing loss challenge Regence’s
3
     exclusion of coverage for hearing aids except for treatment related to cochlear implants.
4
     The case was originally filed on October 30, 2017. The Court dismissed the original
5
     Complaint (see Dkt. No. 22), and Plaintiffs appealed to the Ninth Circuit Court of
6
     Appeals. Dkt. No. 24. The Ninth Circuit concluded that insurers like Regence may be
7
     liable for discriminatory benefit design and reversed and remanded this case and its
8
     sister litigation. See Dkt. No. 29. Upon remand, Plaintiffs amended the Complaint
9
     consistent with the directions of the Ninth Circuit. See Dkt. No. 32. Regence again moved
10
     to dismiss. Dkt. No. 37. The Court granted Regence’s Second Motion to Dismiss but
11
     concluded that “Plaintiffs’ complaint may be cured ‘by the allegation of other facts’” and
12
     granted leave to amend the complaint. Dkt. No. 41, p. 17. On February 22, 2022, Plaintiffs
13
     filed their SAC, hewing closely to the guidance provided by this Court and the Ninth
14
     Circuit. See Dkt. No. 42. Regence again moves to dismiss.
15
     B.      The SAC More Than Adequately Pleads Facts Sufficient to Support Claims.
16
             The SAC sets forth all the facts necessary for relief:
17
             •   Plaintiffs E.S. and Sternoff are enrolled in a Regence BlueShield insured plan.
18
                 Dkt. No. 42, ¶¶8–9, 18, 36, 40.
19           •   Plaintiffs are qualified individuals with a disability, whose hearing loss limits
                 a major life activity, hearing. Id., ¶¶8–9, 18, 42; 29 U.S.C. §705(20)(B).
20
             •   Plaintiffs require hearing aids to treat their hearing loss. Dkt. No. 42, ¶¶8–9,
21
                 18, 43.
22           •   Plaintiffs’ Regence insured health plan is a “health program or activity”, part
                 of which receives federal financial assistance. Id., ¶10; 42 U.S.C. §18116; 45
23
                 C.F.R. §92.4. As a result, Regence is a “covered entity” and must comply with
24               Section 1557, 42 U.S.C. §18116.

25           •   Regence administers health plans that exclude coverage of hearing aids. Id.,
                 ¶¶2, 18, 20, 23.
26


     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                  SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                             SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 4                                               3101 WESTERN AVENUE, SUITE 350
                                                                           SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                       TEL. (206) 223-0303 FAX (206) 223-0246
1
             •   Regence provides coverage for cochlear implants, a medical device that is not
                 an amplified hearing aid. Id. ¶¶32–33. Cochlear implants meet the needs of
2                only a tiny minority of its insureds who require hearing aids, approximately
                 5.5% of hearing disabled insureds. Id., ¶¶77.
3
             •   Regence covers diagnostic evaluations for hearing loss, the service typically
4                relied upon by non-disabled insureds with hearing loss. Id., ¶62. This
5
                 allegation is not merely hypothetical. Diagnostic testing and evaluation are
                 covered under the Regence plan to determine whether cochlear implants may
6                be appropriate. See Dkt. No. 32–1, p. 51 of 91. Plaintiff E.S.’s diagnostic
                 evaluation for hearing loss was covered by Regence. Spoonemore Decl., ¶¶2–
7
                 3, Exhs. A–D.
8            •   Plaintiffs alleged, in step-by-step detail, how Regence’s Hearing Aid
9
                 Exclusion is a proxy for discrimination against insureds with disabling
                 hearing loss. Id., ¶¶60–87.
10
             •   Plaintiffs also alleged, in detail, that Regence’s Hearing Aid Exclusion has a
11               disparate impact on hearing disabled insureds. Id., ¶¶88–92.

12
             •   Plaintiffs further alleged that Regence intentionally discriminates against
                 hearing disabled insureds when administering its Hearing Aid Exclusion. Id.,
13               ¶¶93–99.
14           •   Plaintiffs also alleged that Regence’s Hearing Aid Exclusion violates the
                 WLAD and CPA. Id., ¶¶100–108.
15
             •   Any submission of a claim or appeal would have been futile. Id., ¶49.
16               Nonetheless, E.S. pursued her administrative appeal rights under her Regence
                 plan, to no avail. Id.
17

     C.      Regence’s Exclusion of Hearing Aids.
18
             The SAC alleges that Regence designed, marketed, and administered a standard
19
     exclusion that eliminated all coverage of hearing aids:
20

21           SPECIFIC EXCLUSIONS
             …
22
             Hearing Aids and Other Hearing Devices
23
             Hearing aids (externally worn or surgically implanted) and other hearing
24           devices are excluded. This exclusion does not apply to cochlear implants.
25
     See Dkt. No. 32–1, pp. 50–52 of 91. Regence imposed this Exclusion without conducting
26
     the usual medical necessity analysis associated with excluded treatment and technology.

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                               SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                          SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 5                                            3101 WESTERN AVENUE, SUITE 350
                                                                        SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                    TEL. (206) 223-0303 FAX (206) 223-0246
1    Dkt. No. 42, ¶¶93–99. Indeed, there is no “scientific or medical reason” to justify
2    Regence’s Exclusion. Id., ¶97. Regence’s intentional decision to exclude hearing aids
3    from coverage was discriminatory, arising out of a historical and prejudicial belief that
4    covering the medical needs of hearing disabled insureds is not an appropriate use of the
5    insurer’s funds. Id., ¶98.
6                                           III. ARGUMENT
7
     A.      Plaintiffs Adequately Alleged Disability Discrimination Under Section 1557.
8            Under Section 1557, Plaintiffs must allege the following: (1) they are individuals
9    with disabilities, in this case disabling hearing loss; (2) they are otherwise qualified to
10   receive the benefit in dispute (coverage for hearing aids); (3) they were/are denied the
11   benefit by reason of their disability; and (4) Regence is a covered entity that receives
12   federal financial assistance. See Schmitt, 965 F.3d at 954. Regence moves to dismiss,
13   claiming that the third requirement was not adequately pled. See generally Dkt. No. 45.
14           Plaintiffs have properly pled disability discrimination in at least three
15   independent ways:             (1) Regence’s Hearing Aid Exclusion is a form of proxy
16   discrimination; (2) the Hearing Aid Exclusion has disparate impact on the disabled; and
17   (3) the Hearing Aid Exclusion is the result of discriminatory practices and procedures
18   utilized by Regence that were not applied to other medical benefits.
19
             1.       The Hearing Aid Exclusion is a form of proxy discrimination.
20
             Proxy discrimination exists where “the needs of hearing disabled persons differ
21
     from the needs of persons whose hearing is merely impaired such that the exclusion is
22
     likely to predominately affect disabled persons.” Schmitt, 965 F.3d at 959, n.8. As more
23
     detailed in the SAC, (1) the needs of the non-disabled are met under Regence’s policy
24
     because hearing screenings and diagnostic hearing evaluations, the only services
25
     required by the non-hearing disabled, are covered by Regence, while (2) hearing aids,
26


     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                               SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                          SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 6                                            3101 WESTERN AVENUE, SUITE 350
                                                                        SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                    TEL. (206) 223-0303 FAX (206) 223-0246
1    the benefit required by the vast majority of Regence’s hearing disabled, are excluded.
2    The needs of hearing disabled persons therefore differ significantly from the needs of
3    persons whose hearing is merely impaired but not disabling. Regence’s exclusion
4    discriminates against hearing disabled insureds based upon their disability.
5
                      a.      Regence meets the needs of its non-disabled insureds by
6                             covering hearing screenings and diagnostic evaluations.

7
             Regence insureds who do not require hearing aids are provided with covered

8
     hearing-related services under Regence’s policies. Hearing screenings, examinations,

9
     and diagnostic testing are the primary tools to determine if hearing loss has occurred

10
     and the extent and nature of any such loss. Hearing screenings are generally “pass/fail”

11
     tests. If the test is “failed” then the patient is referred for a diagnostic evaluation. Dkt.

12
     No. 42, ¶¶66–67. Regence provides coverage for these services, ensuring that its non-

13
     disabled insureds have access to the full array of hearing-related services that they need.

14
             Regence provides coverage for screening examinations. These screening

15
     examinations are part of a bundled service included in a covered physical examination.

16
     Dkt. No. 42, ¶68; Dkt. No. 32–1, p. 26 of 91 (Regence provides full coverage for a physical

17
     examination). As the SAC alleges, in a physical examination, the physical structures of

18
     the ear are examined, as are certain tests (including, but not limited to, the tuning fork

19
     test, scratch test, whispered voice test, and/or use of a handheld audiometric device).

20
     Dkt. No. 42, ¶68(b).2 As a result, Regence’s insureds with no hearing loss, or hearing loss

21
     that is not disabling, are provided with hearing screenings as part of a physical

22
     examination that is covered in full by Regence. Dkt. No. 42, ¶68(d).

23
         2  Regence asks the Court to accept its merits-based argument that a physical does not include any
24
     evaluation of the ability to hear. This is wholly improper on a motion to dismiss. Indeed, the SAC explains
25   that the Center for Medicare Services, for example, requires such an assessment. Dkt. No. 42, ¶68(c).
     Likewise, the NIH directs that a physical exam includes “examin[ing] the pinnae and periauricular tissues,
26   test auditory acuity, perform Weber and Rinne maneuvers … observe the auditory canals and tympani.”
     Id., ¶68(c). These allegations must be accepted as true at this stage of the litigation.

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                          SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                     SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 7                                                       3101 WESTERN AVENUE, SUITE 350
                                                                                   SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                               TEL. (206) 223-0303 FAX (206) 223-0246
1            If the physical exam identifies a potential hearing-related issue, then Regence
2    provides coverage for diagnostic hearing examinations. A diagnostic hearing test is not
3    a “routine hearing examination” under Regence’s policies. Dkt. No. 42, ¶71. Nor is a
4    diagnostic hearing test a “hearing aid” excluded under the 2020 policy exclusion, or a
5    “program or treatment for hearing loss” excluded under the pre-2020 policies. Dkt.
6    No. 42, ¶71. Rather, it is a “diagnostic procedure” that is specifically covered under
7    Regence’s policies. Dkt. No. 32–1, p. 27 of 91. Not only does Regence provide such
8    coverage under the plain terms of its policies, in actual practice, it covers diagnostic
9    hearing evaluations. See Spoonemore Decl., ¶¶2–3, Exhs. A–D.
10           In short, Regence’s non-disabled insureds have coverage for all of the hearing-
11   related medical needs that they might require: screening for hearing loss (as part of a
12   physical examination) and then follow-up diagnostic testing to determine the nature and
13   extent of any hearing-related problem. This coverage, however, does not come close to
14   meeting the needs of hearing disabled insureds.
15           Regence complains that the allegation that Regence provides coverage for
16   screening and diagnostic testing for hearing loss is a change since this case was first filed
17   in 2017, nearly five years ago. Dkt. No. 45, p.11. That is correct but irrelevant. Plaintiffs
18   often modify their legal theory and facts during the course of litigation based upon
19   formal and informal discovery. PAE Gov’t Servs. v. MPRI, Inc., 514 F.3d 856, 860 (9th Cir.
20   2007) (“…[W]e allow pleadings in the alternative—even if the alternatives are mutually
21   exclusive. As the litigation progresses, and each party learns more about its case and that
22   of its opponents, some allegations fall by the wayside…. The short of it is that there is
23   nothing in the Federal Rules of Civil Procedure to prevent a party from filing successive
24   pleadings that make inconsistent or even contradictory allegations.”). Since this case was
25   filed, Plaintiffs learned that Regence, in fact, covered E.S.’s diagnostic hearing
26   evaluation. Spoonemore Decl. ¶2. Plaintiffs further confirmed Regence’s practice by

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                           SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 8                                              3101 WESTERN AVENUE, SUITE 350
                                                                          SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                      TEL. (206) 223-0303 FAX (206) 223-0246
1    calling various providers. Id., ¶2. With this information, and in consultation with their
2    anticipated expert, Dr. Frank Lin, Plaintiffs found that such diagnostic evaluations are
3    generally covered by health plans, even those with “hearing screening” exclusions. Id.,
4    ¶3. The SAC reflects this new evidence and is the controlling document, completely
5    superseding all other complaints. See M&Z Trading Corp. v. Cargolift Ltd., 2000 U.S. App.
6    LEXIS 11573, *5 (9th Cir. 2000) (doctrine of judicial estoppel does not apply to amended
7    complaints); Loux v. Rhay, 375 F.2d 55, 57 (9th Cir. 1967) (“The amended complaint
8    supersedes the original, the latter being treated thereafter as non-existent.”).
9
                      b.      Disabled insureds who require hearing aids are targeted.
10           It is easy to infer that “[d]iscriminating against people who require hearing aids
11   is a proxy for discrimination against people who have disabling hearing loss.” Dkt.
12   No. 42, ¶60. It is also plausible to assert that the Hearing Aid Exclusion affects
13   predominantly hearing disabled insureds. Data supports both allegations. The vast
14   majority of insureds who need hearing aids have a disability, as that term is used in the
15   ACA and under Section 504 of the Rehabilitation Act, namely, an impairment that
16   “limits a major life activity of such individual.” Dkt. No. 42, ¶¶80–87. Roughly 75% of
17   individuals who use hearing aids acknowledge that they have meaningful difficulties
18   hearing without their hearing aids. Dkt. No. 42, ¶86 (citing data and studies from Frank
19   Lin, M.D.). “Hearing” is a specifically enumerated “major life activity.” 29 U.S.C.
20   §705(20)(B); 42 U.S.C. §12102(2). The 75% figure is the floor—many in the other 25% of
21   hearing-aid users may still meet the legal definition of “disability” if they use hearing
22   aids because they experience significant limitations to their major life activities.3 Id.
23
         3 That people use hearing aids only when their life activities are impacted is a plausible assumption
24
     because hearing-aid use is highly stigmatized. See Wallhagen, Margaret I., Ph.D., GNP-BC, AGSF, FAAN,
25   “The Stigma of Hearing Loss,” The Gerontologist, Vol. 50, No. 1, Feb. 2010, pp. 66-75 (“[S]tigma is an
     important underlying factor in the denial of hearing loss and rejection of hearing assessment and
26   treatment”); see www.ncbi.nlm.nih.gov/pmc/articles/PMC2904535/pdf/gnp107.pdf (last visited
     5/25/22). People do not wear hearing aids unless they need them to address a significant deficit.

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                         SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                    SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 9                                                      3101 WESTERN AVENUE, SUITE 350
                                                                                  SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                              TEL. (206) 223-0303 FAX (206) 223-0246
1            Like “gray hair” as a proxy for age, the “fit” of hearing-aid use to disability is over
2    75%, close enough to be a plausible proxy for that disability, particularly at the pleadings
3    stage. See Pac. Shores Props. v. City of Newport Beach, 730 F.3d 1142, 1160, n.23 (9th Cir.
4    2013), citing to McWright v. Alexander, 982 F.2d 222, 228 (7th Cir. 1992). The mere fact that
5    the Exclusion is “over-inclusive” by affecting some non-disabled insureds with hearing
6    loss does not defeat the discrimination claim.4 As the Ninth Circuit instructs, proxy
7    discrimination exists where “the needs of hearing disabled persons differ from the needs
8    of persons whose hearing is merely impaired such that the exclusion is likely to
9    predominately affect disabled persons.” Schmitt, 965 F.3d at 959 (emphasis added). Here,
10   the needs of hearing-disabled individuals significantly differ from the needs of hearing-
11   impaired individuals in that only the former have experienced limitations to their major
12   life activities that require hearing aids to fix that deficit.
13           At the same time, only a tiny percentage—approximately 5.5%—of the population
14   with hearing loss can have their needs met by Regence’s coverage of cochlear implants.
15   Dkt. No. 42, ¶77. And it is important to recognize that hearing-aid users and cochlear
16   implant users are not discrete populations. Cochlear implants are available only for
17   individuals who gain no significant benefit from hearing aids, and the vast majority of
18   implant users previously used hearing aids. For more than 80% of the hearing disabled,
19   the appropriate treatment for their hearing loss is not a cochlear implant but a hearing
20   aid, which Regence wholly excludes. See Dkt. No. 42, ¶78; Dkt. No. 41, p. 16 (“[B]ecause
21   it appears that only a small proportion of the hearing loss population would be served
22
         4 That Regence located a handful of cases in which individuals with hearing aids had not adequately
23
     pled their ADA claims is irrelevant. See Dkt. No. 45, p. 13. Plaintiffs admit that a small minority of hearing
     aid users are non-disabled under federal law (although they are disabled under Washington law). See Dkt.
24
     No. 42, ¶¶86(c), 87. But that does not mean that Regence’s hearing aid exclusion cannot be a form of
25   disability discrimination. See Pac. Shores, 730 F.3d at 1159 (“A willingness to inflict collateral damage by
     harming some, or even all, individuals from a favored group in order to successfully harm members of a
26   disfavored class does not cleanse the taint of discrimination; it simply underscores the depth of the
     defendant’s animus.”).

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                            SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                       SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 10                                                        3101 WESTERN AVENUE, SUITE 350
                                                                                     SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                                 TEL. (206) 223-0303 FAX (206) 223-0246
1    by Regence’s policy, this would support a claim of proxy discrimination”). As another
2    federal district court recently concluded:
3
             The closeness of the fit is a fact-sensitive determination that will require
4            reliable expert testimony. For now, however, Plaintiff’s pleading is
             adequate to find it plausible that a sufficient fit exists to draw the
5            discriminatory inference. That is enough at this early stage.
6    Fuog, U.S. Dist. LEXIS 84045, at *14. Plaintiffs here have alleged far more than is
7    necessary at this stage. Schmitt, 965 F.3d at 959, n.8 (“At the pleadings stage, we do not
8    require a plaintiff to allege enough detail to state a prima facie case of discrimination”).
9
                      c.      Regence’s exclusion of routine hearing examinations does
10
                              not destroy the “fit.”
             Regence attempts to broaden the challenged exclusion in Plaintiffs’ SAC to
11
     include its exclusion of “routine hearing examinations.” See Dkt. No. 45, p. 1, lines 21–23
12
     (suggesting that the Hearing Aid Exclusion is only part of the actual Exclusion); p. 8:19–
13
     22. Regence’s claim is belied by its policy. Since at least 2020 (and perhaps earlier),
14
     Regence excluded hearing aids as a separate, specific exclusion. See Dkt. No. 32–1,
15
     pp. 50–52 of 91. Regence cannot manufacture overbreadth by misrepresenting the plain
16
     language of its own policies, or by recasting Plaintiffs’ SAC into something that it is not.5
17
             Regence also argues that Plaintiffs’ allegation that it covers diagnostic hearing
18
     evaluations is “unsupported” by the plain language of the Regence plan. 6 Dkt. No. 45,
19
     pp. 1–2. This is also untrue. Regence covers all diagnostic examinations to determine
20

21

         5 Whether Regence’s prior “Hearing Loss Exclusion” (which combined the exclusion for hearing aids,
22
     with the exclusion for routine hearing examinations into a single, disability-based exclusion) was targeted
23   primarily at excluding hearing aids for hearing disabled enrollees cannot be determined without
     discovery. See Carr v. United Healthcare Servs., 2016 U.S. Dist. LEXIS 182561, at *7 (W.D. Wash. May 31,
24   2016). At this point, the SAC only challenges the exclusion of hearing aids as discriminatory.
         6 Importantly, while Regence complains that about the “lack of support” in the sources for Plaintiffs’
25
     allegations regarding its coverage of hearing screenings in primary care visits and diagnostic hearing
26   examinations, Regence never actually disputes their truth. See Dkt. No. 45, pp. 9-11. Regence does not
     because it cannot. See Spoonemore Decl., ¶¶2-3, Exhs. A-D.

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                          SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                     SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 11                                                      3101 WESTERN AVENUE, SUITE 350
                                                                                   SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                               TEL. (206) 223-0303 FAX (206) 223-0246
1    whether a cochlear implant (which is covered) is appropriate or inappropriate, which
2    necessarily includes whether hearing aids would better serve the enrollee. See Dkt.
3    No. 32–1, pp. 50–52 of 91. These diagnostic evaluations were covered for Plaintiff E.S.7
4    See Spoonemore Decl., ¶2, Exhs. A–D. And as alleged by Plaintiffs, diagnostic and
5    hearing evaluations are routinely provided, and covered, by outpatient primary care
6    annual examinations.8 Dkt. No. 42, ¶¶66–73. To the extent there is a material dispute
7    over whether Regence covers diagnostic hearing examinations, that dispute can only be
8    resolved on the merits. Carr v. United Healthcare Servs., 2016 U.S. Dist. LEXIS 182561, at
9    *7 (W.D. Wash. May 31, 2016); see also D.T. v. NECA/IBEW Family Med. Care Plan, 2017
10   U.S. Dist. LEXIS 195186, at *6 (W.D. Wash., Nov. 28, 2017).
11             Regence argues that Plaintiffs have not demonstrated a “close enough fit” with
12   their allegations, claiming that at the pleading stage, they must demonstrate that hearing
13   aids are “almost exclusively indicators” of disability. Dkt. No. 45, p. 7. Not so. Every case
14   relied upon by Regence for this proposition was decided on the merits, not at the
15   pleading stage. See id., citing to Pac. Shores, 730 F.3d at 1159; Davis v. Guam, 932 F.3d 822,
16   829 (9th Cir. 2019). And no case stands for the proposition that, at the pleading stage, the
17   “fit” between those subjected to a proxy exclusion and those with the protected status
18   must be closer than the 75% “fit” that Regence essentially concedes.9 Critically, the Ninth
19   Circuit held in this case that plaintiffs must merely show that the proxy exclusion
20
         7Given   that “[a] court may dismiss a complaint only if it is clear that no relief could be granted under
21   any set of facts that could be proved consistent with the allegations [of the complaint],” see Hishon v. King
     & Spalding, 467 U.S. 69, 73, 104 S. Ct. 2229 (1984), Plaintiffs proffer the “hypothetical”—which certainly
22   appears be true—that Regence actually paid for the diagnostic hearing evaluation for E.S.

23       8 Regence argues that despite Plaintiffs’ allegations, there is a distinction between a “routine physical
     examination” and a “specific, though routine hearing examination.” Dkt. No. 45, p. 16. None of these terms
24   are defined in the Regence plan, and Regence purposefully avoids discussing whether it covers diagnostic
     hearing examinations in its motion. Ultimately, discovery is required to determine whether, and precisely
25   how, Regence covers or excludes diagnostic hearing tests.
         9As  discussed in §III.A.1.b above, the “fit” is likely considerably closer when applying the ACA
26
     definition of “disability.”

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                            SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                       SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 12                                                        3101 WESTERN AVENUE, SUITE 350
                                                                                     SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                                 TEL. (206) 223-0303 FAX (206) 223-0246
1    “primarily” or “predominantly” impacts insureds with disabilities. Schmitt, 965 F.3d at
2    959. The Ninth Circuit was most concerned that Plaintiffs did not include in their original
3    Complaint allegations that cochlear implants meet the needs of only a small fraction of
4    hearing disabled insureds. Id. at 949 (“[A] categorical exclusion of treatment for hearing
5    loss would raise an inference of discrimination against hearing disabled people
6    notwithstanding that it would also adversely affect individuals with non-disabling
7    hearing loss.”). Here, Regence imposes an exclusion of all coverage for hearing aids, the
8    key treatment needed by the vast majority of hearing-disabled insureds to address their
9    disability. That sufficiently raises an inference of discrimination.
10           Regence misleadingly argues that even if it does cover diagnostic hearing
11   examinations, that coverage does not “create an inference of discriminatory intent”
12   against disabled insureds. Dkt. No. 45, p. 10. Regence has it backwards. Its coverage of
13   diagnostic services for disabled and non-disabled insureds is not discriminatory. It is
14   Regence’s blanket exclusion of all coverage for hearing aids, the critical service required
15   by hearing disabled insureds, that creates the inference of discriminatory intent. As the
16   Ninth Circuit concluded in Schmitt, the ACA “imposes an affirmative obligation not to
17   discriminate in the provision of health care—in particular, to consider the needs of
18   disabled people and not design plan benefits in ways that discriminate against them.”
19   Id., 965 F.3d at 955 (emphasis added). Regence’s Hearing Aid Exclusion denies hearing
20   disabled insureds access to the ACA-mandated benefit that would ameliorate their
21   disability, while serving the coverage needs of those without a hearing disability. To
22   intentionally and arbitrarily exclude hearing aids from coverage is the very essence of
23   disability discrimination in benefit design.
24           Ultimately, Regence demands too much from the SAC at this stage of litigation.
25   Plaintiffs are not obligated to plead more specific facts than they have in their possession,
26   particularly where, as here, such information is within the exclusive control of

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                           SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 13                                             3101 WESTERN AVENUE, SUITE 350
                                                                          SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                      TEL. (206) 223-0303 FAX (206) 223-0246
1    defendants. See A.Z. v. Regence BlueShield, 333 F. Supp. 3d 1069, 1081 (W.D. Wash. 2018);
2    Innova Hosp. San Antonio, Ltd. P’ship v. Blue Cross & Blue Shield of Ga., Inc., 892 F.3d 719,
3    728 (5th Cir. 2018). Specifically, Regence exclusively controls evidence about (1) how it
4    administers its coverage of diagnostic services, including as it relates to cochlear
5    implants; (2) the reasons it established the Hearing Aid Exclusion, if any; and (3) whether
6    the Regence insureds who are denied coverage for hearing aids are primarily hearing-
7    disabled. Nonetheless, Plaintiffs have pled specific allegations of discrimination based
8    upon the experience of Plaintiffs, its expert witness, and general standards of care and
9    coverage. Plaintiffs’ allegations are more than sufficient to give “defendants fair notice
10   of what the … claim is and the grounds upon which it rests.” Bell Atl. Corp. v. Twombly,
11   550 U.S. 544, 555, 127 S. Ct. 1955 (2007).
12
             2.       Plaintiffs properly assert a disparate impact discrimination claim.
13
             The Ninth Circuit recently addressed the required allegations to support a claim
14
     for disparate impact discrimination based on disability to proceed under Section 1557.
15
     See Doe v. CVS Pharmacy, Inc., 982 F.3d 1204 (9th Cir. 2020). Consistent with the Supreme
16
     Court’s decision in Alexander v. Choate, the Ninth Circuit directed courts considering
17
     such claims to conduct the following analysis: (1) consider the nature of the benefit
18
     alleged to have been denied; (2) determine whether the existing coverage provided
19
     “meaningful access to the benefit” consistent with the Affordable Care Act and its
20
     regulations; and (3) evaluate whether the limitation or exclusion impacts disabled
21
     enrollees “in a unique or severe manner.” Doe, 982 F.3d at 1210–12. This analysis must
22
     be construed in the light most favorable to the Plaintiffs. Id. See also Payan v. L.A. Cmty.
23
     Coll. Dist., 11 F.4th 729, 738 (9th Cir. 2021) (“Prohibited forms of disability discrimination
24
     include … providing the entity’s program or service in a way that is not effective in
25
     affording the individual with a disability an equal opportunity to obtain the same result
26


     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                 SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                            SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 14                                             3101 WESTERN AVENUE, SUITE 350
                                                                          SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                      TEL. (206) 223-0303 FAX (206) 223-0246
1    as provided to others.”). Plaintiffs here allege a straightforward claim of disparate
2    impact discrimination under Section 1557.
3            First, as alleged in the SAC, the “benefit denied” is access to coverage for hearing
4    aids. As alleged and demonstrated by Plaintiffs, diagnostic hearing evaluations are
5    covered by Regence. Dkt. No 42, ¶¶66–73; Spoonemore Decl., ¶¶2–3, Exhs. A–D.
6    Plaintiffs no longer challenge Regence’s exclusion of “routine hearing examinations” in
7    the Plaintiffs’ SAC, since they can access coverage for diagnostic evaluations, and
8    hearing screening is available in a covered in a physical examination (as well as free of
9    charge in community-based programs). Dkt. No. 42, ¶69.
10           Instead, under the SAC, the challenged benefit is coverage of hearing aids. Under
11   the ACA statute and regulations, health insurers are required to cover medically
12   necessary durable medical equipment and prosthetics. 42 U.S.C. §18022(b)(1)(G)
13   (“Rehabilitative and habilitative services and devices” must be covered); 45 C.F.R.
14   §156.115(a)(5) (Coverage of “habilitative services and devices” must include “services
15   and devices that help a person keep, learn, or improve skills and functioning for daily
16   living … including … for people with disabilities”). Despite this coverage mandate,
17   hearing disabled insureds are denied meaningful access to hearing aids, since only a tiny
18   percentage of hearing disabled insureds can benefit from Regence’s coverage of cochlear
19   implants. Plaintiffs and the proposed class cannot receive effective treatment under this
20   ACA benefit because of their disability. See Doe, 982 F.3d at 1211.
21           The federal regulations promulgated to implement Section 1557 support this
22   conclusion. As the Ninth Circuit noted in Doe:
23           The ACA regulations require that “any restriction on a benefit or benefits
             must apply uniformly to all similarly situated individuals,” and must “not
24
             be directed at individual participants or beneficiaries based on [disability].”
25           45 C.F.R. §146.121(b)(2)(i)(B). … Does allege the structure and
             implementation of the Program discriminates against them on the basis of
26           their disability by preventing HIV/AIDS patients from obtaining the same

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                 SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                            SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 15                                             3101 WESTERN AVENUE, SUITE 350
                                                                          SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                      TEL. (206) 223-0303 FAX (206) 223-0246
             quality of pharmaceutical care that non-HIV/AIDS patients may obtain in
1
             filling non-specialty prescriptions, thereby denying them meaningful
2            access to their prescription drug benefit. Those allegations are sufficient to
             state an ACA disability discrimination claim.
3
     Id. Similarly here, Plaintiffs allege that Regence’s Hearing Aid Exclusion discriminates
4
     against them on the basis of disability by denying them access to the essential medical
5
     equipment that would address and ameliorate their disability, while non-disabled
6
     insureds are able to have their needs for durable medical devices and prosthetics met.
7
     Dkt. No. 42, ¶¶88–92. Hearing aids function in this context like a wheelchair for a
8
     physically disabled individual. See Fuog, 2022 U.S. Dist. LEXIS 84045, at *14. Hearing aids
9
     are the key medical equipment that Plaintiffs require in order to benefit from the ACA’s
10
     coverage guarantee related to rehabilitative and habilitative devices.
11
             Second, Regence’s existing coverage—which covers only cochlear implants—does
12
     not provide “meaningful access” to habilitative and rehabilitative devices for the vast
13
     majority of hearing disabled individuals. Dkt. No. 42, ¶¶77–78. Plaintiffs’ allegation that
14
     only 5.5% of disabled insureds with hearing loss have their needs met with Regence’s
15
     cochlear implant coverage demonstrates the lack of meaningful access. Id., ¶77.
16
             Third, the lack of access to medically necessary hearing aids uniquely impacts
17
     Plaintiffs and the proposed class in a profound and devastating manner. By definition,
18
     they require hearing aids to engage in major life activities, including working, going to
19
     school, socializing, or simply communicating. Id., ¶¶61, 65, 75. These needs go unmet
20
     due directly to Regence’s Hearing Aid Exclusion. In contrast, non-disabled insureds are
21
     only minimally impacted by Regence’s Exclusion. Id., ¶76. They can work, socialize, go
22
     to school, or otherwise interact with others without significant interference from their
23
     untreated medical condition.
24
             Contrary to Regence’s claims (Dkt. No. 45, p. 17), the original and First Amended
25
     Complaints did not allege disparate impact discrimination. See Dkt. Nos. 1, 32. Neither
26


     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                           SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 16                                            3101 WESTERN AVENUE, SUITE 350
                                                                         SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                     TEL. (206) 223-0303 FAX (206) 223-0246
1    this Court nor the Ninth Circuit addressed disparate impact previously in this case or in
2    its sister case, Schmitt. See Dkt. No. 26; Schmitt, 965 F.3d 954 (refraining from disparate
3    impact analysis because Plaintiffs “did not allege a disparate impact claim”) (emphasis
4    added).
5             Also misleadingly, Regence repeats arguments it previously made (and lost in the
6    Ninth Circuit) regarding facial discrimination, now applying them to Plaintiffs’
7    disparate impact claim. Compare Dkt. No. 45, pp. 15–17 with Dkt. No. 11, pp. 10–16.
8    Regence argues that since it offers the same coverage to all insureds, hearing disabled
9    and non-disabled alike, it does not matter that the Hearing Aid Exclusion has a disparate
10   impact on the hearing disabled. Dkt. No. 45, pp. 16–17. The Ninth Circuit in Schmitt and
11   Doe rejected Regence’s argument. See Schmitt, 965 F.3d at 951; Doe, 982 F.3d at 1211 (“The
12   fact that the benefit is facially neutral does not dispose of a disparate impact claim based
13   on lack of meaningful access”). Specifically, in Doe, the Ninth Circuit concluded that the
14   plaintiffs adequately alleged they were denied “meaningful access” to the ACA’s
15   prescription drug benefit because the insurer’s barriers to coverage of prescription
16   medications prevented plaintiffs from receiving effective treatment for their disability.
17   Id. at 1212. See also Fuog, 2022 U.S. Dist. LEXIS 84045 at *16–17. The same is true here.
18            Regence claims that since Washington’s benchmark plan required coverage of
19   cochlear implants and permits it to exclude other treatment for hearing loss, it cannot be
20   held liable for disability discrimination when it excludes all other coverage. Dkt. No. 45,
21   p. 21.10 Again, the Ninth Circuit rejected this argument. See Schmitt, 965 F.3d at 955. The
22   benchmark plan “is only the starting point” for determining ACA compliance, including
23   with Section 1557’s non-discrimination requirements. Id. The Court held that
24
         10  Regence implies that since Medicare does not cover hearing aids, it is not required to do so either.
25
     Dkt. No. 45, p. 9. No court has concluded—yet—that Medicare is a “health program or activity” that is
26   subject to Section 1557. See Fain v. Crouch, 545 F. Supp. 3d 338, 342 n.3 (S.D. W. Va. 2021) (discussing, in
     dicta, that Medicare insurers may be subject to Section 1557).

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                           SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                      SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 17                                                       3101 WESTERN AVENUE, SUITE 350
                                                                                    SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                                TEL. (206) 223-0303 FAX (206) 223-0246
1    “compliance with federal and state law regarding essential health benefits did not
2    guarantee compliance with the ACA’s nondiscrimination requirement.” Id. at 956. The
3    fact that Regence’s plan complied with the benchmark, or was not disapproved by the
4    Insurance Commissioner, is irrelevant.11 Id. at 956–57 (“[W]hether or not [defendants]
5    complied with section 1557 is a question of federal law on which we owe the state no
6    deference.”); O.S.T. v. Regence BlueShield, 181 Wn.2d 691, 700, n.9, 335 P.3d 416 (2014).
7
             3.       Deliberate indifference discrimination based upon Regence’s
8                     arbitrary exclusion of hearing aids.

9            Plaintiffs added a new claim in their SAC, alleging that Regence discriminated

10   against them when arbitrarily including and administering the Hearing Aid Exclusion

11   because they have no medical or scientific basis to justify it. Anti-discrimination case law

12   has long held that “disability alone is not a permissible ground for withholding medical

13   benefits.” Woolfolk v. Duncan, 872 F. Supp. 1381, 1389 (E.D. Pa. 1995). Treatment may only

14   be excluded or withheld based upon a “bona fide medical reason.” Id. at 1390; see Glanz

15   v. Vernick, 750 F. Supp. 39, 46 (D. Mass. 1990). In anti-discrimination cases, courts must

16   ensure that the defendant’s proffered reasons are not “pretextual … to cover up

17   discriminatory decisions.” Sumes v. Andres, 938 F. Supp. 9, 12 (D.D.C. 1996); see also

18   Bragdon v. Abbott, 524 U.S. 624, 649, 118 S. Ct. 2196 (1998) (Under the ADA, disabled

19   patients may only be excluded from treatment based upon “objective, scientific

20   information,” “available medical evidence,” or “other credible scientific basis”).

21

22
         11 The OIC never concluded that an “exclusion of treatment for hearing loss is not discriminatory.”
23
     Dkt. No. 45, p. 21. The Washington Legislature directed the OIC to adopt the Essential Health Benefits
     (“EHB”) benchmark plan based upon Regence’s existing health coverage in 2014. See RCW 48.43.715
24
     (requiring the OIC to select the largest small group plan by enrollment as the EHB benchmark plan, which
25   was a Regence plan). As a result, Regence’s existing Hearing Loss Exclusion was “baked into” the EHB
     regulations by the Legislature, not the OIC. The Legislature also imposed an independent statutory duty
26   on insurers to ensure that their health benefit design is non-discriminatory. RCW 48.43.0128. Regence must
     comply with both requirements.

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                         SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                    SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 18                                                      3101 WESTERN AVENUE, SUITE 350
                                                                                   SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                               TEL. (206) 223-0303 FAX (206) 223-0246
1             Federal regulators warned insurers like Regence that they could not arbitrarily
2    exclude or limit certain medical benefits, since such exclusions could be intentional
3    discrimination:        “[A]rbitrary age, visit, or coverage limitations could constitute
4    discrimination.” 81 Fed. Reg. 31408. Such exclusions or limitations may only be based
5    upon scientific or medical reasons. 81 Fed. Reg. 31405 (“Scientific or medical reasons can
6    justify distinctions based on the grounds enumerated in Section 1557”). Arbitrary
7    exclusions based upon protected traits, including disabling hearing loss, are prohibited.
8    81 Fed. Reg. 31408; 81 Fed. Reg. 31434. “[P]roffered justifications cannot rely on
9    overbroad generalizations and cannot be hypothesized or invented post hoc in response
10   to litigation.” 81 Fed. Reg. 31409. See also 81 Fed. Reg. 31434 (a fact specific inquiry is
11   required to determine if a benefit design results in discrimination). “[C]overed entities
12   must use neutral, nondiscriminatory criteria in making decisions as to which benefits
13   and services to cover.” Section 1557: Frequently Asked Questions, No. 45.12 “Issuers are
14   expected to impose limitations and exclusions, if any, based on clinical guidelines and
15   medical evidence, and are expected to use reasonable medical judgment.” CMS Letter to
16   Issuers in the Federally Facilitated Market Place (February 17, 2017), p. 7.13
17            This is consistent with Regence’s publicly professed bases for adding exclusions
18   and limitations in its health plans. Regence asserts that it uses a clinical process to
19   evaluate     whether          a medical   service   should be    covered or          excluded.         See
20   https://blue.regence.com/trgmedpol/intro/index.html (last visited 5/24/22). For
21   technology, like hearing aids, Regence conducts a “technology assessment process” that
22   examines five elements:            (1) the technology must have final approval from the
23

24       12  See https://www.hhs.gov/civil-rights/for-individuals/section-1557/1557faqs/index.html (last
     visited 5/24/22).
25
         13   See https://www.cms.gov/CCIIO/Resources/Regulations-and-Guidance/Downloads/Final-
26   2018-Letter-to-Issuers-in-the-Federally-facilitated-marketplaces-and-February-17-Addendum.pdf (last
     visited 5/24/22).

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                    SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                               SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 19                                                 3101 WESTERN AVENUE, SUITE 350
                                                                              SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                          TEL. (206) 223-0303 FAX (206) 223-0246
1    appropriate governmental regulatory bodies; (2) the scientific evidence must permit
2    conclusions concerning the effect of the technology on health outcomes; (3) the
3    technology must improve the net health outcome; (4) the technology must be as
4    beneficial as any established alternatives; and (5) the improvement must be attainable
5    outside of the investigational settings. Id. Hearing aids easily meet all five requirements.
6    Dkt. No. 42, ¶¶93–95. Regence, however, excludes all coverage of hearing aids, without
7    regard for the medical necessity or effectiveness of the treatment. Id., ¶96.
8            Regence’s arbitrary exclusion of the essential coverage required by hearing
9    disabled insureds, without any neutral non-discriminatory reason, is discrimination. As
10   alleged by Plaintiffs, Regence has no objective, medical, or scientific evidence to support
11   its Hearing Aid Exclusion. Dkt. No. 42, ¶96. Even after five years of litigation, Regence
12   has failed to come forward with any explanation or justification for its Hearing Aid
13   Exclusion at all—and certainly none that is grounded in clinical guidelines or medical
14   evidence.
15           If, as alleged, Regence’s Hearing Aid Exclusion was put in place arbitrarily,
16   Regence engaged in the kind of “thoughtlessness,” “indifference,” and “benign neglect”
17   that constitutes discriminatory deliberate indifference. See Crowder v. Kitagawa, 81 F.3d
18   1480, 1484 (9th Cir. 1996), quoting Choate, 469 U.S. at 295. On the other hand, if Regence
19   made an intentional decision to forgo the formal medical and technology review it
20   typically utilizes and, instead, arbitrarily imposed a blanket exclusion on hearing aids,
21   knowing that the services would otherwise be covered, Regence’s actions are intentional
22   discrimination. Schmitt, 965 F.3d at 954 (“The claim at issue here—that Kaiser designed
23   its plan benefits in a discriminatory way—inherently involves intentional conduct.”).
24   That is all that is necessary to plead a claim for discrimination.
25           Regence claims that Plaintiffs failed to state a claim for “deliberate indifference”
26   by misleadingly relying upon case law involving motions for summary judgment. See

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                           SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 20                                            3101 WESTERN AVENUE, SUITE 350
                                                                         SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                     TEL. (206) 223-0303 FAX (206) 223-0246
1    Dkt. No. 45, p. 18, citing to Updike v. Multnomah Cty., 870 F.3d 939, 943 (9th Cir. 2017) and
2    Duvall v. Cty. of Kitsap, 260 F.3d 1124, 1129 (9th Cir. 2001).14 In any event, Plaintiffs have
3    alleged that Regence has no justification—medical, scientific, or otherwise—for the
4    Exclusion. Dkt. No. 42, ¶96. This is sufficient to plead deliberate indifference
5    discrimination. If Defendants have a “legitimate, non-discriminatory reason” to justify
6    the Exclusion, they must come forward with the reason on summary judgment. See
7    Brown, 2017 U.S. Dist. LEXIS 151291, at *7. On the other hand, if discovery shows that
8    Regence had no scientific or medical reason to justify the hearing aid exclusion and,
9    instead, excluded the medically necessary treatment solely because it was “historic,” that
10   is the precise form “benign neglect” that Section 1557 was intended to end.
11   B.        Regence’s Violation of RCW 48.43.0128 is a Violation of the Washington
               Law Against Discrimination.
12
               Plaintiffs have also properly pled a claim under RCW 48.43.0128 and the WLAD.
13
     RCW 48.43.0128 specifically prohibits health carriers from discriminating against
14
     individuals due to “present or predicted disability” in both the design of benefits and
15
     the implementation of a policy:
16
               (1) A health carrier offering a nongrandfathered health plan … may not:
17
                   (a) In its benefits design or implementation of its benefits design,
18                 discriminate against individuals because of … present or predicted
                   disability….
19
     RCW 48.43.0128(1) (emphasis added). In 2021, the Washington Legislature placed
20
     RCW 48.43.0128 directly within the scope of the WLAD. See 2SSB 5313 (2021), Sec. 1
21
     (adding RCW 48.43.0128 directly to RCW 49.60.178(1)).
22

23
          14Regence misconstrues the legal standard established in Updike, which was a “reasonable
24
     accommodation” case. The standard Regence quotes—“knowledge that a harm to a federally protected
25   right is substantially likely”—refers to the requirement that a defendant must know that an
     accommodation is needed before it can be held liable. See id., 870 F.3d at 943. Plaintiffs do not bring a
26   reasonable accommodation claim. In any event, Regence is well aware that it enrolls hearing disabled
     insureds who need hearing aids in its insurance—that is why it put in place the challenged Exclusion.

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                         SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                    SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 21                                                     3101 WESTERN AVENUE, SUITE 350
                                                                                  SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                              TEL. (206) 223-0303 FAX (206) 223-0246
1            The WLAD protects consumers’ “right to engage in insurance transactions or
2    transactions      with        health   maintenance       organizations       without         discrimination.”
3    RCW 49.60.030(1)(e). Any person who is the victim of unfair discrimination may bring a
4    private civil action for injunctive relief, compensatory damages, and attorney fees.
5    RCW 49.60.030(2); Galbraith v. TAPCO Credit Union, 88 Wn. App. 939, 950, 946 P.2d 1242
6    (1997) (“WLAD is not limited to employment discrimination but rather guarantees the
7    right to be free of discrimination in nonemployment settings.”). Finally, the WLAD, of
8    course, is to be “liberally construed” in order to “eradicate discrimination.” Floeting v.
9    Grp. Health Coop., 192 Wn.2d 848, 852, 434 P.3d 39, 41 (2019), citing RCW 49.60.010,
10   RCW 49.60.020. Taken together, these statutes hold that it is unfair discrimination for
11   health insurers, like Regence, to discriminate in the benefit design, or administration of
12   the benefit design, against insureds because of their “present or predicted disability …
13   or other health condition.” See RCW 48.43.0128.
14           Regence argues that there is no “private right of action” to enforce
15   RCW 48.43.0128, ignoring the Washington Legislature’s inclusion of the statute within
16   the umbrella of the WLAD. For this very reason, Defendants’ cases—Keodalah v. Allstate
17   Ins. Co., 194 Wn.2d 339, 346, 449 P.3d 1040 (2019) and Bennett v. Hardy, 113 Wn.2d 912,
18   783 P.2d 1258 (1990)—are unavailing.15 See Dkt. No. 45, pp. 21–22. Under the three-prong
19   test established in Bennett, RCW 48.43.0128 and RCW 49.60.178(1) meet all three
20   requirements for private enforcement: (1) Plaintiffs are within the class for whose benefit
21

22       15 Cameron v. Physicians Ins., 2004 U.S. Dist. LEXIS 15268, at *10 (D. Or. July 26, 2004), cited by Regence,
     is irrelevant. It relates to the Oregon law against discrimination, which applied anti-discrimination law
23
     only to the sale of insurance policies. Id. In contrast, the Washington Legislature established that
     RCW 48.43.0128 may be enforced via RCW 49.60.178 in an effort to codify in state law key consumer
24
     protections under the ACA, including the right to pursue a civil action under a state law anti-
25   discrimination        provision.     See    Final     Bill    Report      SHB      1870,     found       at
     https://lawfilesext.leg.wa.gov/biennium/2019-20/Pdf/Bill%20Reports/House/1870S%20HBR%
26   20FBR%2019.pdf?q=20220526125620 (last visited 5/26/22) (“Brief Description: Making state law
     consistent with selected federal consumer protections in the patient protection and affordable care act”).

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                             SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                                        SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 22                                                          3101 WESTERN AVENUE, SUITE 350
                                                                                       SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                                   TEL. (206) 223-0303 FAX (206) 223-0246
1    the statute was enacted (disabled insureds); (2) the Legislature explicitly created a
2    remedy by including RCW 48.43.0128 as a form of “unfair practice” subject to the
3    WLAD’s civil enforcement statute, RCW 49.60.178; and (3) adjudicating that a civil
4    remedy exists under RCW 48.43.0128 and RCW 49.60.178 is consistent with the
5    Legislature’s intent. See SHB 1870 (2019) (“An Act relating to making state law consistent
6    with selected federal consumer protections in the patient protection and affordable care
7    act.”); Bennett, 113 Wn.2d at 920–21.
8            Regence further argues that RCW 48.43.0128 does not contain “an express cause
9    of action.” Dkt. No. 45, p. 22. But by designating the activities described in
10   RCW 48.43.0128 as “unfair practices” under RCW 49.60.178, the Legislature made these
11   activities subject to WLAD’s private cause of action. See RCW 49.60.030(1), (2). The
12   Legislature did not limit enforcement of RCW 48.43.0128 to only the Insurance
13   Commissioner; rather, the Legislature empowered the OIC to issue rules to implement
14   the requirements, without imposing any limitation on the reach of WLAD. Indeed, if the
15   Legislature did not intend RCW 48.43.0128 to be privately enforceable, it could have
16   simply not included the statute under RCW 49.60.178.
17           Regence concedes that the language of RCW 48.43.0128 is substantially different
18   from Section 1557. Dkt. No. 45, p. 22. Importantly, RCW 48.43.0128 does not reference or
19   incorporate federal disability law. Id. Since the WLAD’s definition of disability is far
20   broader than federal law, RCW 48.43.0128 prohibits disability discrimination in
21   circumstances that may not be prohibited under federal law. See, e.g., Dkt. No. 42, ¶101;
22   RCW 49.60.040(7)(a) (defining disability); Taylor v. Burlington N. R.R. Holdings, Inc., 193
23   Wn.2d 611, 618–627, 444 P.3d 606 (2019). Under Washington law, any medically
24   cognizable hearing impairment is a “disability” subject to state anti-discrimination
25   protection. See RCW 49.60.040(7)(c)(i); Taylor, 193 Wn.2d at 617. Plaintiffs have more than
26   adequately pled a claim of disability discrimination under Washington law.

     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                               SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                          SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 23                                           3101 WESTERN AVENUE, SUITE 350
                                                                        SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                    TEL. (206) 223-0303 FAX (206) 223-0246
     C.      Plaintiffs Adequately Pled a Violation of the CPA and for Declaratory and
1
             Injunctive Relief.
2            Ultimately, if the Court concludes that Regence’s Exclusion violates
3    RCW 48.43.0128 and the WLAD, then it is a per se violation of the CPA. Dkt. No. 42,
4    ¶¶104–108. Regence concedes as much. Dkt. No. 45, p. 22. Similarly, if Plaintiffs’ claims
5    under the ACA and/or the WLAD are allowed to proceed, so too must their claims for
6    injunctive and declaratory relief. Regence makes no other argument that these claims are
7    not properly pled. If the Court concludes that Plaintiffs have plausibly pled a claim
8    under either Section 1557 or the WLAD, then their claims under the CPA and for
9    injunctive and declaratory relief must be allowed to proceed.
10
                                        IV. CONCLUSION
11           By excluding hearing aids from coverage, Regence has created a benefits design
12   that discriminates against those with hearing disabilities. By definition, the hearing-
13   disabled are unable to engage in major life activities due to their hearing disability. 42
14   U.S.C. §12102. They are impacted differently from those that are not hearing-disabled,
15   who are able to engage in major life activities without hearing aids. Schmitt, 965 F.3d at
16   959, n.8 (claim can be based on showing that “the needs of hearing disabled persons
17   differ from the needs of persons whose hearing is merely impaired such that the
18   exclusion is likely to predominately affect disabled persons.”).
19           Denying hearing disabled individuals access to the very medical intervention that
20   would permit them to overcome the effects of their disability is just the type of
21   discrimination that Section 1557 and Washington law was designed to prevent.
22   Regence’s motion to dismiss should be denied.
23

24

25

26


     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                              SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                         SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 24                                            3101 WESTERN AVENUE, SUITE 350
                                                                         SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                     TEL. (206) 223-0303 FAX (206) 223-0246
1            DATED: June 3, 2022.
2
                                         SIRIANNI YOUTZ
3                                        SPOONEMORE HAMBURGER PLLC

4                                          /s/ Richard E. Spoonemore
                                         Richard E. Spoonemore (WSBA #21833)
5
                                           /s/ Eleanor Hamburger
6                                        Eleanor Hamburger (WSBA #26478)
                                         3101 Western Avenue, Suite 350
7
                                         Seattle, WA 98121
8                                        Tel. (206) 223-0303; Fax (206) 223-0246
                                         Email: ehamburger@sylaw.com
9
                                                   rspoonemore@sylaw.com
10
                                         Of Counsel:
11
                                           /s/ John F. Waldo
12                                       John F. Waldo, Pro Hac Vice Pending
                                         Law Office of John F. Waldo
13
                                         2108 McDuffie St.
14                                       Houston, TX 77019
                                         Tel. (206) 849-5009
15                                       Email: johnfwaldo@hotmail.com
16
                                         Attorneys for Plaintiffs
17

18

19

20

21

22

23

24

25

26


     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                          SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                     SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 25                                       3101 WESTERN AVENUE, SUITE 350
                                                                    SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                TEL. (206) 223-0303 FAX (206) 223-0246
1                                    CERTIFICATE OF SERVICE

2           I hereby certify that on June 3, 2022, I caused the foregoing to be electronically
     filed with the Clerk of the Court using the CM/ECF system, which will send notification
3
     of such filing to the following:
4            •   Brad S. Daniels
                 brad.daniels@stoel.com, janna.leasy@stoel.com
5
             •   Eleanor Hamburger
6                ehamburger@sylaw.com, matt@sylaw.com, theresa@sylaw.com, stacy@sylaw.com
7            •   Maren Roxanne Norton
                 maren.norton@stoel.com, docketclerk@stoel.com, heidi.wilder@stoel.com,
8                malaika.thompson@stoel.com
9            •   Richard E. Spoonemore
                 rspoonemore@sylaw.com, matt@sylaw.com, rspoonemore@hotmail.com,
10               theresa@sylaw.com, stacy@sylaw.com
11           •   John F. Waldo
                 johnfwaldo@hotmail.com
12
             I further certify that I have mailed by United States Postal Service the document
13
     to the following non CM/ECF participants:
14
             •    (No manual recipients)
15
             DATED: June 3, 2022, at Seattle, Washington.
16

17                                                         /s/ Richard E. Spoonemore
                                                     Richard E. Spoonemore (WSBA #21833)
18

19

20

21

22

23

24

25

26


     PLAINTIFFS’ OPPOSITION TO DEFENDANTS’                                SIRIANNI YOUTZ
     MOTION TO DISMISS PLAINTIFFS’ SECOND                           SPOONEMORE HAMBURGER PLLC
     AMENDED COMPLAINT – 26                                            3101 WESTERN AVENUE, SUITE 350
                                                                         SEATTLE, WASHINGTON 98121
     [Case No. 2:17-cv-1609-RAJ]
                                                                     TEL. (206) 223-0303 FAX (206) 223-0246
